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                                                                     Judge   Recd Date   Grv.




 Foruse byinmatesinfiling a complaintunderCIVIL RIGHTS ACT,42 USC 91983
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                             IN THE UNITED STATES DISTRICT CO URT
                         FOR THE W ESTERN DISTRICT OF VIRG INIA
                                         ROANOKE DIVISION                            JAN 22 2219
                                                                                  J.UL1,'C, UDLEY, LERK
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         Have yoq begun otheractions iq state orfederalcourtdealing with the same facts
         involved In thls action orotherwlse relating to yourimprisonment?
                         Yes                 -   Z   No
 B.      Ifyouranswerto A is Yes,describe the action in the space below.
                   Padies to the Action:



         2.        C ourt'                                               '                      '
         3.        Docket No.:
         4.        Judgq:
         5.        Disposition:


 C.      Have you filed any grievances reg rding the facts ofyourcom plaint?
         Yes                        No
         1.lfyouransw erisYES,indicate the result.Attach evidence ofyourexhaustion ofallavailable
           grievance procedures.                                                                 '

         2.Ifyouransw erisN O,indicate the reason forfailure to exhaust.You m ay be required to exhaust
         yourclaim sthrough any applicable grievance procedures.Y ourcom plaintm ay be dism issed ifyou
         failto exhausta1lavenuesofthe grievance processin a tim ely fashion.
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       D.        Statementof Claim - State hpre briqfly the facts ofyot?rcasp. Describe w hat
                 actionls)eachdefendanttooklnviolatlonofyourconstl
                                                                 tutlonalrlghts.Includealso
                 the nam es ofgtherpersons involved,dates pnd places. Do notgive any Iegal
                 argum entsprclteanycasesorstatutes Ifyou Intend to allegea num berofdlfferent
                 claims,numberand sëtfodh eachclaim In a s:parate paragraph. Use as much
                 space as needed. You may attach extra paperIfnecessary.
                 Claim #1 - Supporting Facts -Tellyourstory briefly withoutciting cases orlaw.
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                 Claim #2 -Supporting Facts -Tellyourstory briefly wlthoutciting cases or law.                                                    Ktih o
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       E.     State w hatreliefyou seek from the Court. M ake no I
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                                                                       signature ofEachPlaintiff                         '
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       as to those m atters thatare stated to be based on inform ation and belief,and as to those
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       w lthoutthe pre-paym entoffillng fees.
       Ideclare underpenalty ofperjurythe foregoingtobe trueand correct.
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